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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGI A
                                 WAYCROSS DIVISION



UNITED STATES OF AMERICA

                                                          CASE NO. CR505-02 1
               V.

JAMES "JABBER" LEE
TODD SWEAT



             MAGISTRATC JUDGE' S REPORT AND RECOMMENDATIO N



       Defendant Todd Sweat ("Sweat") is charged with manufacturing marijuana, in

violation of 21 U .S.C. § 841(a)(1) . Sweat filed a Motion to Suppress (Doc . No. 29), and the

Government filed a Combiined Response (Doc . No. 35) . The undersigned conducted a

hearing on March 7, 2006, at which Agent Bloodworth of the Southeast Georgia Drug Task

Force testified for the Government, and Sweat testified on his own behalf . Sweat filed a

post-hearing brief .

                                   FINDINGS OF FAC T

       The credible testimony at the evidentiary hearing established the following :

       Agent Bloodworth, the lead investigator in this case, met Bacon County Magistrate

Judge Boatright to seek a $earch warrant for property where he believed marijuana plants

grew . Magistrate Judge : Boatright and Agent Bloodworth had worked together on

numerous occasions . Magistrate Judge Boatright had rejected Agent Bloodworth' s initial

application for a warrant uhtil additional information was supplied . Jr. at 12 .)
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Under Oath , Agent Bloodworth told the Magistrate Judge that the Governor' s task force

observed , from a helicopter , marijuana plants growing near planted pines . He told the

Magistrate Judge that Sweat lived on the property and "Jabber " James Lee owned two

mobile homes there . (Tr. at 11 .) Agent Bloodwo rth also told the Magistrate Judge that the

helicopter pilot described Several vehicles on the prope rty : a golf cart, a pick -up truck, and

a Ford Thunderbird . (to The pilot told Agent Bloodwo rth that a man quickly loaded the

golf ca rt and left in the truck . (Id.)

           Agent Bloodwo rth submi tted an affidavit and hand drawn map of the property to

Magistrate Judge Boatright . (Tr. at 11-12.) After approximately twenty -five to thirty

minutes , Magistrate Judge Boatright issued the warrant without hesitation or questions .

Jr . at 12- 13.) During his search of the mobile home , Agent Bloodworth found a hemostat ;

scales; suspected residue ;; a zip lock plastic bag containing residue and seeds ; an address

book; and 98 marijuana plants growing behind the mobile home among planted pines . Jr.

at 13 .)

           According to AgentBloodworth, the 98 marijuana plants were approximately 30 to

50 yards from Sweat's mobile home . The plants were approximately five to ten yards from

the open area after Sweat's curtilage and averaged six feet in height . Jr. at 18 .) Agent

Bloodworth stated that he lid not have difficulty seeing the plants once he entered the pine

forest. (Id .) Agent Bloodworth did not include the trailer park in the map of the property

because he believed the park to be irrelevant due to its distance from the area to be

searched . Jr, at 16 .) HO did not provide the Magistrate Judge with an exact distance

between the marijuana plants and Sweat's mobile home . The affidavit stated that the

marijuana plants were in "near proximity" to Sweat's mobile home . Jr. at 15 . )

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                                           ISSUES

       Sweat contends th4t all evidence, and fruits of this evidence, found in a search o f

his home should be suppressed . Sweat avers that the Magistrate Judge did not have

probable cause to issue . a warrant because the supporting affidavit : (1) relied on

information from unnamed; informants, without facts establishing their credibility ; (2) did not

mention the time period within which Agent Bloodworth gained the information from the

informants ; and (3) made oonclusory allegations . Sweat also contends that the good-faith

exception to the warrant requirement does not apply because "the affidavit completely

lacks indicia of probable cause, such that any belief in the existence of probable cause was

unreasonable ." (Doc. No . 36, at p . 1 .) Sweat avers that the map of the property should

not have been admitted at the evidentiary hearing and should not be considered in the

Court's probable cause analysis .

       In their consolidates brief, the Government asserts that the affidavit supports the

warrant . If the court does not find the affidavit to be sufficient, the Government contends

that the good-faith exceptilon applies .

                     DISC SSION AND CITATION TO AUTHORIT Y

       The Fourth Amendment provides that "no Warrants shall issue, but upon probable

cause, supported by Oathor affirmation ." U.S . CONST. amend . IV. Probable cause "is a

fluid concept--turning on the assessment of probabilities in particular factual contexts[ .]"

United States v . Brundidc , 170 F .3d 1350, 1352 (11th Cir . 1999) (citing Illinois v . Gates ,

462 U .S. 213, 232, 103 S . Ct. 2317, 2329, 76 L . Ed . 2d 527 (1983) . The Fourth

Amendment does not require that probable cause be determined solely by a writte n



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affidavit; a magistrate judge may supplement his determination through sworn oral

statements from the investligating agent seeking the warrant . U .S . v. Clyburn , 24 F .3d 613 ,

617 (4th Cir . 1997) . "Probable cause to support a search warrant exists when the totality

of the circumstances allow a conclusion that there is a fair probability of finding contraband

or evidence at a pa rticulars location ." Brundidge , 170 F .3d at 1352 .

        The validity of a warrant affidavit is established through a demonstration of : (1) a

connection between the defendant and the location to be searched ; (2) a link between the

location and the criminal activity ; and (3) demonstration of the informant's veracity and

basis of knowledge.      United States v . Martin , 297 F .3d 1308, 1314 (11th Cir . 2002) .

Independent corroboration of an informant's information negates the need to establish the

veracity of his statements, Id . (citing United States v . Danhauer, 229 F .3d 1002, 1006

(10th Cir . 2000)) .

        Evaluating the totality of the information, particularly in light of the sworn oral

testimony given by Agent Bloodworth to Magistrate Judge Boatright, probable cause

existed for the issuance of. the search warrant . Despite Sweat's attempt to limit the basis

for the search warrant to three statements, the affidavit and oral testimony provided

Magistrate Judge Boatright with specific information which he could use to appropriately

make a probable cause determination . The affidavit established that the Task Force's pilot

found the suspected marijuana plants growing near two mobile homes . (Doc . No . 29,

Def.'s Ex. A, p . 1 .) Agent Bloodworth outlined the pilot's information regarding the

individuals at the scene, fprther supporting information Sweat attributes to an unnamed

informant in the affidavit . (Id .) Agent Bloodworth also told the Magistrate Judge that on e



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of the mobile homes wasi vacant and used for storage , while Sweat rented the mobile

home to be searched . Jr., at 11 .)

       Although Sweat argues that the information is not detailed , the affidavit specifically

states that the pilot surveyed the land on August 6, 2003 , the same day the Magistrate

Judge issued the warrant .: As Agent Bloodwo rt h testified, it is his experience that where

marijuana plants are grown , materials associated with this activity are found nearby . Agent

Bloodwo rt h's failure to name a specific witness to the events does not make his affidavit

wholly invalid . Given the `"near proximity" to Sweat's mobile home , and the fact that the

other mobile home near the plants was uninhabited , probable cause existed to search

Sweat 's mobile home.

       It is unnecessa ry to address Sweat's contentions regarding Agent Bloodwo rth's use

of a map to illustrate the Iccation of the plants to Magistrate Judge Boatright . Generally,

Georgia law requires that extra documents used by a magistrate judge be incorporated by

reference in the affidavit , when reviewing a probable cause determination . See Franks v.

State , 240 Ga . App . 685 , $89 (Ga . Ct . App. 1999) . Otherwise , the Court may consider a

magistrate judge's use of such a document when determining the application of the good-

faith exception . See Main, 297 F .3d at 1309 (stating that a reviewing court may look

outside the four corners of the affidavit to decide the application of the good-faith

exception) .   In the instant case , however, the affidavit satisfied the requirements to

establish its validity. See K. at 1314 . The affidavit combined with Agent Bloodwo rt h's

sworn testimony , exclusive of his presentation of the map, provided ample probable cause

for Magistrate Judge Boat~ight to issue the search warrant .



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                                 CONCLUSION

      Based on the fore0oing, it is my RECOMMENDATION that Defendant Sweat's

Motion to Suppress be DENIED .

      So REPORTED and RECOMMENDED , this day of May, 2006.




                                           MES E. GRAHAM
                                          NITED STATES MAGISTRATE JUDG E




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